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                                                                                                                                                               EXHIBIT
Table C.
U.S. District Courts––Civil Cases Commenced, Terminated, and Pending
During the 12-Month Periods Ending December 31, 2022 and 2023
                                                                                                                                                                    B
                                    Filed                                              Terminated                                           Pending
     Circuit
      and
     District      2022             2023            Percent Change¹    2022              2023            Percent Change¹    2022             2023            Percent Change¹

       Total           265,615         360,793                 35.8       317,704            296,612                 -6.6      593,480          656,689                 10.7

DC                         3,937            3,898               -1.0           3,716             3,461               -6.9           4,564            4,969               8.9

       1st                 4,773            5,820              21.9            5,111             6,032              18.0            9,470            9,241               -2.4
ME                          437              467                6.9             433               456                5.3             401              409                2.0
MA                         2,601            3,596              38.3            2,847             2,784               -2.2           3,199            3,994              24.9
NH                          564              544                -3.5            402              1,316             227.4            3,875            3,103              -19.9
RI                          458              540               17.9             564               549                -2.7            648              641                -1.1
PR                          713              673                -5.6            865               927                7.2            1,347            1,094              -18.8

       2nd                24,636           27,888              13.2           27,054            25,586               -5.4          28,476           30,689               7.8
CT                         1,726            1,757               1.8            1,949             1,838               -5.7           1,897            1,814               -4.4
NY,N                       1,628            1,868              14.7            1,930             1,725              -10.6           1,731            1,869               8.0
NY,E                       8,054            9,638              19.7            8,046             8,276               2.9            8,956           10,296              15.0
NY,S                      11,369        11,676                  2.7           12,652            11,004              -13.0          12,708           13,318               4.8
NY,W                       1,624            2,161              33.1            2,213             2,223               0.5            2,923            2,863               -2.1
VT                          235              788              235.3             264               520               97.0             261              529              102.7

       3rd                21,737        39,197                 80.3           22,755            22,799               0.2           77,834           93,158              19.7
DE                         1,703            1,519              -10.8           2,086             1,398              -33.0           1,885            2,034               7.9
NJ                         9,057        24,688                172.6            9,053             8,791               -2.9          62,404           78,298              25.5
PA,E                       5,871            7,402              26.1            6,322             7,455              17.9            8,025            6,880              -14.3
PA,M                       2,135            2,234               4.6            2,323             2,316               -0.3           2,546            2,451               -3.7
PA,W                       2,831            3,237              14.3            2,744             2,719               -0.9           2,544            3,070              20.7
VI                          140              117               -16.4            227               120               -47.1            430              425                -1.2

       4th              17,467          22,757                 30.3           17,128            17,849               4.2           20,759           25,698              23.8
MD                         3,526            3,687               4.6            3,948             4,152               5.2            4,189            3,726              -11.1
NC,E                       1,634            3,322             103.3            1,724             1,847               7.1            2,020            3,240              60.4
NC,M                       1,154            1,141               -1.1           1,155             1,156               0.1             998              983                -1.5
NC,W                       1,142            1,456              27.5            1,381             1,312               -5.0            943             1,088              15.4
SC                         4,430            6,727              51.9            3,161             3,305               4.6            6,615           10,339              56.3
VA,E                       2,941            3,511              19.4            3,045             3,292               8.1            2,482            2,687               8.3
VA,W                       1,266            1,263               -0.2           1,218             1,162               -4.6           1,067            1,168               9.5



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Table C.
U.S. District Courts––Civil Cases Commenced, Terminated, and Pending
During the 12-Month Periods Ending December 31, 2022 and 2023

                                   Filed                                              Terminated                                           Pending
       Circuit
        and
       District    2022            2023            Percent Change¹    2022              2023            Percent Change¹    2022             2023            Percent Change¹
WV,N                       728              803               10.3             746               877               17.6             534              458               -14.2
WV,S²                      646              847               31.1             750               746                -0.5           1,911            2,009               5.1

         5th           33,817          34,862                  3.1           40,605            34,624              -14.7          44,432           44,700               0.6
LA,E                      5,030            6,979              38.7            9,024             6,839              -24.2          17,355           17,500               0.8
LA,M                      1,171            1,733              48.0             980              1,225              25.0            1,304            1,807              38.6
LA,W                      6,256            1,879              -70.0           3,946             4,575              15.9            6,727            4,029              -40.1
MS,N                       691              910               31.7             781               917               17.4             591              584                -1.2
MS,S                      1,385            3,677             165.5            1,632             1,480               -9.3           1,372            3,568             160.1
TX,N                      5,295            5,279               -0.3          10,484             5,553              -47.0           4,166            3,890               -6.6
TX,E                      3,087            3,301               6.9            3,060             3,106               1.5            3,282            3,498               6.6
TX,S                      6,162            6,476               5.1            5,973             6,238               4.4            5,613            5,850               4.2
TX,W                      4,740            4,628               -2.4           4,725             4,691               -0.7           4,022            3,974               -1.2

         6th           18,535          18,929                  2.1           16,606            15,785               -4.9          37,869           41,021               8.3
KY,E                      1,051            1,078               2.6            1,397             1,113              -20.3           1,018             980                -3.7
KY,W                      1,230            1,190               -3.3           1,367             1,286               -5.9           1,392            1,295               -7.0
MI,E                      3,177            3,320               4.5            3,451             3,225               -6.5           3,630            3,745               3.2
MI,W                      1,587            1,651               4.0            1,544             1,519               -1.6           1,146            1,276              11.3
OH,N                      2,430            2,531               4.2            2,605             2,739               5.1            5,650            5,439               -3.7
OH,S                      5,637            5,450               -3.3           2,625             2,452               -6.6          21,210           24,198              14.1
TN,E                      1,004            1,002               -0.2           1,171              988               -15.6           1,051            1,066               1.4
TN,M                      1,242            1,609              29.5            1,263             1,424              12.7            1,332            1,517              13.9
TN,W                      1,177            1,098               -6.7           1,183             1,039              -12.2           1,440            1,505               4.5

         7th           20,354          31,329                 53.9           19,434            19,587               0.8           30,817           42,559              38.1
IL,N                      7,799        17,548                125.0            7,914             8,243               4.2            9,868           19,174              94.3
IL,C                      1,282            1,410              10.0            1,308             1,487              13.7            1,657            1,578               -4.8
IL,S                      3,146            4,078              29.6            1,328             1,638              23.3            4,090            6,532              59.7
IN,N                      2,008            2,235              11.3            2,276             2,190               -3.8           1,924            1,973               2.5
IN,S                      3,728            3,457               -7.3           3,903             3,443              -11.8          10,831           10,841               0.1
WI,E                      1,617            1,669               3.2            1,731             1,627               -6.0           1,579            1,619               2.5
WI,W                       774              932               20.4             974               959                -1.5            868              842                -3.0

         8th           11,625          12,861                 10.6           11,952            11,924               -0.2          15,300           16,222               6.0




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Table C.
U.S. District Courts––Civil Cases Commenced, Terminated, and Pending
During the 12-Month Periods Ending December 31, 2022 and 2023

                                    Filed                                              Terminated                                           Pending
       Circuit
        and
       District    2022             2023            Percent Change¹    2022              2023            Percent Change¹    2022             2023            Percent Change¹
AR,E                       1,912            1,750               -8.5           1,799             2,062              14.6            1,888            1,583              -16.2
AR,W                        860              834                -3.0            922               863                -6.4            679              651                -4.1
IA,N                        414              404                -2.4            431               412                -4.4            360              352                -2.2
IA,S                        536              647               20.7             514               612               19.1             475              510                7.4
MN                         3,205            3,901              21.7            3,206             3,017               -5.9           7,562            8,453              11.8
MO,E                       1,644            2,005              22.0            1,939             1,785               -7.9           1,533            1,720              12.2
MO,W                       1,797            1,891               5.2            1,839             1,957               6.4            1,496            1,430               -4.4
NE                          711              820               15.3             696               649                -6.8            618              790               27.8
ND                          221              247               11.8             231               239                3.5             289              296                2.4
SD                          325              362               11.4             375               328               -12.5            400              437                9.3

         9th           42,881           44,477                  3.7           42,671            44,001               3.1           45,933           46,478               1.2
AK                          467              342               -26.8            494               319               -35.4            370              393                6.2
AZ                         3,124            4,023              28.8            3,316             3,771              13.7            2,858            3,115               9.0
CA,N                       9,066            6,521              -28.1           7,823             6,499              -16.9          13,114           13,154               0.3
CA,E                       3,831            4,684              22.3            4,036             4,604              14.1            5,820            5,897               1.3
CA,C                      13,848        15,767                 13.9           13,955            15,540              11.4           10,355           10,610               2.5
CA,S                       2,223            2,491              12.1            2,344             2,680              14.3            2,271            2,071               -8.8
HI                          584              660               13.0             616               569                -7.6            479              568               18.6
ID                          539              603               11.9             540               586                8.5             679              698                2.8
MT                          634              589                -7.1            631               581                -7.9            666              671                0.8
NV                         2,768            2,792               0.9            2,924             2,690               -8.0           3,408            3,538               3.8
OR                         2,013            1,989               -1.2           2,358             2,051              -13.0           2,389            2,329               -2.5
WA,E                        916              819               -10.6            926               934                0.9             762              650               -14.7
WA,W                       2,817            3,152              11.9            2,644             3,126              18.2            2,417            2,446               1.2
GU                           31               27               -12.9             41                 28              -31.7            288              287                -0.3
NMI                          20               18               -10.0             23                 23               0.0              57               51               -10.5

        10th               9,068            9,564               5.5            9,985             9,545               -4.4           9,215            9,313               1.1
CO                         3,363            3,468               3.1            3,505             3,401               -3.0           3,003            3,077               2.5
KS                         1,228            1,248               1.6            1,450             1,280              -11.7            927              895                -3.5
NM                          988             1,174              18.8            1,226             1,164               -5.1           1,208            1,230               1.8
OK,N                        585              576                -1.5            687               612               -10.9            678              641                -5.5
OK,E                        390              448               14.9             425               474               11.5             511              485                -5.1




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Table C.
U.S. District Courts––Civil Cases Commenced, Terminated, and Pending
During the 12-Month Periods Ending December 31, 2022 and 2023

                                               Filed                                                     Terminated                                                      Pending
       Circuit
        and
       District           2022                 2023            Percent Change¹          2022                 2023            Percent Change¹          2022                 2023           Percent Change¹
OK,W                             1,121                 1,225                 9.3                1,207                1,149                -4.8               1,032                1,111                 7.7
UT                               1,082                 1,174                 8.5                1,206                1,206                 0.0               1,478                1,449                 -2.0
WY                                 311                  251                -19.3                 279                  259                 -7.2                 378                 425                 12.4

        11th                    56,785             109,211                 92.3             100,687                 85,419               -15.2            268,811              292,641                   8.9
AL,N                             1,681                 1,855               10.4                 1,871                1,808                -3.4               2,023                2,077                 2.7
AL,M                               763                  810                  6.2                1,057                 974                 -7.9               1,061                 895                -15.6
AL,S                               522                  492                 -5.7                 595                  511                -14.1                 537                 521                  -3.0
FL,N                            28,705                66,210              130.7                68,194               41,510               -39.1            247,747              272,446                 10.0
FL,M                             8,609                 9,216                 7.1                9,117                9,136                 0.2               6,420                6,523                 1.6
FL,S                             8,323                21,409              157.2                 8,862               21,439              141.9                3,856                3,833                 -0.6
GA,N                             6,025                 6,955               15.4                 8,536                7,718                -9.6               5,315                4,554               -14.3
GA,M                             1,175                 1,247                 6.1                1,256                1,258                 0.2               1,001                 995                  -0.6
GA,S                               982                 1,017                 3.6                1,199                1,065              -11.2                  851                 797                  -6.3

NOTE: The number of pending cases in this report includes cases that have been transferred under a Multidistrict Litigation (MDL) order. Large numbers of civil cases may be temporarily assigned
by the Judicial Panel on Multidistrict Litigation to a district judge for pretrial management. As MDL cases vary greatly among districts, it is advisable to check with the relevant district court before
drawing statistical conclusions about the number of pending cases for that district.
¹ Percent change not computed when fewer than 10 cases reported for the previous period.
² The higher number of pending cases reported for the Southern District of West Virginia is the result of reconciliation efforts conducted for pretrial management for the three-month period ending
June 30, 2018.




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